DEH-BCM                    Document 127                                       Filed 03
                THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERNDISTRICT OF NEW’ YORK

   Lr\T\IDEO.AlCORP
         PlaintifF.                              CIVII J ACTION
   Vb,                                           C ,A. NO , 1:24'C\-• 06290


   SHARI REDSTONE.
   NATIONAL AMUSEMENTS. INC..
   CHRISTINE \'ARNEY.
   MONICA SELIGMAN,

         Defendant's

                                                                  /




   MEMORANDUMJ)F 1.AW IN RESPQ.NSE AND OPPOSITION,TO NAI AND
   SHARI REDS_T_0_NEJMOTION FQR_RULE 11 SANCTIQN$

         Defendant National Amusements, Inc. (”NAI") and Shari Redstone
   ("Red stone") seek sanctions against Plaintiff IJvevideoJLICorp. ("Livevideo")and its

   counsel under Rule 11 and the Court's inherent powers, claiming that Livevideo’s
   claims are frivolous and that the litigation was pursued for an improper purpose
   NAI's motion should be denied because: (1) Livevideo'sclaims are supported by
   reasonable legal and factual bases; (2) Livevidoo did not file this action for an
   improper purpose; and (3) NAI has failed to establish that sanctions are warranted
   under the Court's inherent powers. (4) NAI and Redstone have contravened the
   statuels requirements


          NAI’s motion represents a transparent attempt to intimidate Livevidco and its
   counsel through the threat of sanctions. while simultaneously avoiding addressing
   the merits of livevideo's claims. The motion is particularly inappropriate given that

   NAI itself has engaged in procedural mismnduct,including failing to comply with its

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   mandatory disclosure obligations under Federal Rule of Civil Procedure 7.1 until
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   February 26, 2025–the 8ame day it 61ed its sanctions motion–-<lespite having

   appeared in this action months earlier. The February 26, 2025 FRCP 7_1 filing is
   defective because it fails to disclose the fact that according to Paramount'sown 64

   filings and defendantNAI's recent SEC filings (see Exhibit #1)1, 80% of NAI’s stock
   is owned by another entity which is controlled by an LLC. Therefore NAI’s FRCP 7.1

   filing contains material omissionsand is faLse when compared to Paramount'sSEC
   nbngs.

               For instanoe, the most recent fIfth amended S4 admits (i) NAI is controlled by

   another entiEy and such percentage ownership is greater then the FRCP 7.1
   disclosure statement's 10% threshold! (ii) the existence of the 80% parent of NAI is

   necessaryto make regulatory filings stating: " Lawrence Ellison, Sumner M. Redstone

   National Amusements Part B General Trust (also known as NA Part B General Trust),

   and Skydance filed HSR Act Noti6cation and Report Forms on July 19, 2024 with
   respect to the Transaction8that will bring entities controlled by the Ellison family

   into collective control of NAI and Paramount while merging SkI’dance into
   Paramount."




   1   This court may take judIcial notice of the SECand FCCfilings attacFed at Exhibit #1 including
   NA Administration, LLC's "Commercial Broadcast Stations Non-Biennial Ownership Report(FCCForm 323)
   File Number: (XXX>245733 Submit Date: 202+06<)3'’. NA Administrative Trusts' "Commercial Broadcast Stations
   Non-Biennial Ownership Report (FCCForm 323} File Number: CXXX)245734Submit Date: 2024-CH4)3",
   Sumner M. Redstone National Amusements Part BGeneral Trust's "Cornmercial Broadcast StatIons BiennIal
   Ownership Report (FCCForm 323) File Number:CXXX)22741C)   Submit Date: 2023-11-21-
   z "NAI is controlled by the Sumner M. Redstone National Amusements Part BGeneral Trust (also known as the IVA
    Part BGeneral Trust) (the -General Trust"), which owns gO% of the voting interest cf NAI. NA Administration, LLC is
   the ccrporate trustee of the General Trust, and is gaverned by a seven memtnr board of dIrectors, which acts by
    majontV vote (subject to certaIn excepnons). InclUding wtth respect to the NAIshares held by the General Trust.
    Ms. Redstone is the Chairperson, CEO and President of NAI, is one of the seven dIrectors af NA
   Administration. LIC- (page 18 Pluto GkBal February 12, 2025 54, (AMENDMEMTNO. S TO FORM sa
   REGISTRATION STATEMEHTm)
                          (Extyb4 #1 at 1)


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          Furthermore,NAI’s motion mischaracterizes both the factual record and the

   applicable legal standards. livevideo's claims are grounded in well-established legal

   principles and supported by factual allegations that, if proven, would entitle
   Livevidco to relief. The Court should deny NAI's motion and allow this litigation to

   proceed on the merits. This misuse of Rule 11 is in and of itself $anctionable. See E.

   (}luck Corp. v. Rothenhaus,252 F.R.D. 175, 179 (S.D.N.Y. 2008) (“[T]he fiLing of a
   motion for sanctions is itself subject to the requirements of the rule and can lead to
   sanctions. )(citation.s omitted).


          Indeed, the Advisory Committee notes point out that Rule 11 should not be

   used “to emphasize the merits of a party’s position, to exact an unjust settlement, [or]

   to intimidate an adversary into withdrawing contentionsthat are fairly debatable.”
   See Laborers Local 938 Joint Health & Welfare Trust Fund v. B.R. StaInes Co. of

   Florida, 827 F.2d 1454, 1458 (11th Cir. 1987)(affirming the denial of sanctions where

   the issues u3erefairly debatable and not easily re$olued, and there u?as no clear binding

   precedent).

                                 FACTUAL BACKGROUND

          Live:video is a Delaware corporaLion established in April 2023. Its CEO, Brad

   Greenspan, is the former CEO of Intermix Media, Inc., the parent company of the

   social network Myspace. In June 2024, Mr. Greenspan left voicemail messages fbr
   Defendant Shad Redstone regarding a potential acquisition of Paramount Global,
   followed by a formal letter on July 5, 2024, offering to enter into negotiationsto
   purchase Paramount. At the time, Paramountwas engaged in merger negotiations
   with Skydance Media, LLC. On July 7, 2024, Paramount and Sk)’dance announced a

   definitive merger agreement valued at approximately§8 billion.




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          Livevideo filed this action on August 20, 2024. asserting claims against NAI,

   Ms_ Redstone, Christine Varney, and Monica Seligman.The original u)mplaint

   asserted state law claims for unfair competition.tortic)us interference with business

   relations, aiding and abetting breach of fiduciary duty. and unjust enrichment. On
   August 26, 2024, the Court directed IJvevideo to show cause why the action should

   not be dismissed for lack of subject matter jurisdiction.


          In response, Livevideo 61ed a First Amended Complaint ("FAC") which added
   federal claims under the D(Hd.Frank Wall Street Reform and Consumer Protection

   Act and the Computer Fraud and Abuse Act (-CFAA"). On September24, 2024.
   livevideo attempted to file a Sea)nd Amended Complaint, but the Court denied leave
   to amend without prejudice to IJvevideo's right to make a properly-supported motion
   for leave to amend


          On November 6, 2024, IJvevideo served NAI and Ms. Redstone through The
   Corporation Trust Incorporated in Maryland. On December 9, 2024, the Clerk
   entered a default against NAI. NAI moved to set aside the default, arguing that
   Livevideo had served the wrong pleading. On December 11. 2024 the Court reversed

   the Federal and State evidentiary obligations and ordered the Plaintia to submit
   another process server a£lidavit with more detail. On December 18, 2024, the Court

   granted NAI's application and vacated the default, but declined NAI'8 request to
   dismiss the entire action for failure to effect service of process within 90 da)'8 of filing

   the operative complaint. The Court gave Livevideo until January 3, 2025, to move to

   extend the time for service.


          livevideo did not move to extend the time for service by January 3, 2025.
   Instead, on January 13, 2025. livevideo moved to -modify or alter" the Docember 18

   Order. The Court denied that motion and directed Livevideo to show cause why the


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   action should not be dismissed pursuant to Rule 4(m) . At the February 12, 2025 show.

   cause hearing, I,ivevideo's counsel made an oral motion for a nunc pro tune extension

   of time to effect service, which the Court denied. The Court reserved judgment on

   whether the case should be dismissed under Rule 4(m).


          On February 18 and 19, 2025, Livevidao filed requests for Certificates of
   Default as to defendants Redstone, Varney, and Seligman_ On February 27, 2025, the

   Court denied these requests, finding that service was ineffective as to all three
   defendants


          On December 30, 2024, NAI and Shad Redstone served a Rule 11 ”safe harbor"

   letter on I,ivevideo'scounsel, demandingthat Livevideo withdraw "Dkt. 35" and
   enter a voluntary dismissal with prejudice as to the NAI Defendants by January 20,
   2025. The safe harbor letter focused primarily on alleged juri8dictional defects and

   the purported frivolousness of PlaintiHs claims, while the current motion emphasizes
   alleged litigation misconduct and vexatious behavior. This bait.and-switch tactic

   violates the purpose of the safe harbor provision, which is to give the non-moving
   party fair notice of the specific conduct alleged to violate Rule 11.


          These procedural defbcts warrant denial of NAI’s motion. These include the
   fact that the December 30. 2024 "safe harbor" letter was from Redstone and NAI

   while the motion for sanctions is only brought by NAI. The reasons for Redstone
   attempting to withdraw her motion for sanctions have not been disclosed and would
   likely be dispositive including providinf evidence the original "safe harbor" letter was
   defective


          Other obvious defects include that the December 30, 2024 letter falsely states




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          i. "Plaintiff has never properly responded to that order, as the Court noted in
                                                                                                Filed 03
   its September 11, 2024order (Dkt. No, 28)." This is false becauseit omits the fact the
   Plaintiff responded fully thru Dkt. No. 33 which is a reply to the Magistrate'sOrders

   including the September 11, 2024 order.

          ii. "You again failed to rospond to the Court’s order. Dkt. No. 47. " This is

   false because there was no requirement to respond since the PlaintiKh nd decided

   not to pursue attempting to file a motion for leave to amend the complaint with the

   Dkt. No. 44 Second Amended Complaint.


           Iii. Defendant's claim "You also claimed to have to served Ms. Redstone with
   that same improperly filed complaint in a manner that the Court found to be
   obviously suspicious.See Dkt. No. 48 " as a basis that the Plaintiff acted in a
   misleading fashion became moot as a result of the court denial of Dkt No. 48 followed

   by the PlaintiHs submission of Dkt No. 79 which the court accepted and did not find

   "obviously suspicious" or "suspicious".


           iv. Defendant's claim "you did not receive an amended summons to serve that

   version of the complaint," is irrelevant because E(IF Rule 15.2 clearly explains an
   amended summons is only required when and if the Plaintiff had added new
   defendants in an amended pleading.3


           iv. The defendant's claim 'The Complaint does not plead that Livevideo was a

   stockholderin ParamountGlobal" is misleading because I,iveVideo pleads that it is




   3 15.2 How are surnmonses inued     when electronIcally Sling an amended p4eadrng?
   If a party is added when electronically filing an amended pleadin& a summons should be reque£ted by
   electronically filing a REqUEST FOR ISSUANCE OF SUMMONS and attaching a proposed summons in PDF/A format
     A summons is not necessary when no party IS added to a case."


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   a st£x:kholder of Paramount Global in PlaintifFs pending motion for leave to
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   supplement    the a>mplaint   .


   v. The December 30. 2024 letter demands "ifLivevideo does not withdraw the operative

   complaintin this Action (the 'Complaint'-), Dkt. No. 35. More Januiuy 20, 2025. ". yet

   the Plaintiff served the defendants with Dkt No. 32 which is the only September 3. 2024 signed

   First AmendedComplaintsubmitted at the direction of the Magistrate and on the date,

   Septemtnr 13. 2024. which the Magistratc's Septemtxr 1 . 2024 OSC nquked. TtInefon, the
                                                            1




   Plaintiaclmrly cannot wIthdrawa pleading it did not serve on an defendant. In aldition, since

   tIn aourt ordered dx: PlaintifT to -re-file- du Dkt 32 amended complaint its clar thaI the coun

   intemied thc amended complaintfiled as Dkt 32 to tn the OFnrativc complaint.TtIerctbre the

   [Xxcmtnr 30. 2024 Rule 11 L£tter is defective on its face tncausc Dkt 35 cant tx: ulthdraub

   because as a result of the Plaintiff erroneously in attempting to re-nIc Dkt 32's amended

   complaintinstead filing for the first time at Dkt 35. a new ditTercnt vasion of thc amended

   complaint.then Dkt 35 is a second amended complaintthat the Magistrate was required to deny

   for the same reasons the Magistrate denied the ptuptxwd second amended complaint filed as Dkt.

   A, or alternativelythe Magiaratc should have aux:add Dkt 35 to conform to the Dkt 33 Reply

   to OSC amendments cross referenced to Dkt 32.


           On February 26, 2025, NAI Bled its motion for sanctions under Rule 11, Rule

   12(b)(6) and the Court’s inherent powers.

                                           ARGUMENT

                   1. LEGAL STANDARD FOR RULE 11 SANCTIONS


           Rule 11 8anction8 are -a drastic remedy that should tx: impIned with caution.-
   Knipe c. Skinner. 19 F.3d 72, 78 (2d Cir. 1994). Courts mu8t re&olvc nU doubts in

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   favor of the signer of the pleading. Rc>dick u. City of Schenectady. 1 F.3d 1341, 1350

   (2d Cir. 1993). The Second Circuit has emphasized that Rule 11 sanctions should be
   imposed only where it is "patently clear that a claim has absolutely no chance of

   success."Stern u. T,eucadia Not ’I Corp.. 84+ F.2d 997, 1005 (2d Cir. 1988)


         Rule 11 provides that by presenting a pleading to the court, an attorney
   certines that: (1) it is not being presentedfor any improper purpose; (2) the claims

   are warranted by existing law or a nonfrivolousargument for extending, modifying,
   or reversing existing law; and (3) the factual contentions have evidentiary support or
   will likely have evidentiary support after a reasonable opportunity for investigation

   or discovery. Fed. R. Civ. P. 11(b).

         The standard for determining whether a pleading violates Rule 11 is objective

   unreasonableness. Star Mark Mgmt., Inc. u. Koon Chun HMg Kee Soy & Salrce

   Factory, Ltd., 682 F.3d 170, 177 (2d Cir. 2012)_ However, sanctions are not
   appropriate merely because a claim is ultimately unsuccessful.Rather, the claim
   must be so lacking in merit that no reasonableattorney could have believed it was
   viable. Fishoff u. Coty Inc.. 634 F.3d 647, 654 (2d Cir. 201 1)


         In addition. defendantsfiled pursuant to Rule 12(b)(6) motion to dismiss, “a
   complaint must contain sumcient factual matter, accepted as true, to 'state a claim

   to relief that is plausible on its face.’” Ashcroft u. Iqbal, 556 U.S. 662, 678
   ('2009)(quoting Bell All. Corp. u. TLoombty,550 U.S. 544. 570(2007). A plaintiff is not

   required to provide “detailed factual allegations" in the complaint but must assert
    more than ]abel sB and conclusions.”Tulombly , 550 U.S. at 555. Ultimately, the

   “factual allegations must be enough to raise a right to relief above the speculative
   level.’ U. On a Rule 12(b)(6) motion, the court may consider only the complaint,
   documentsattached to the complaint or incorporatedin it by reference, matters of

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   which a court can take judicial notice, or docnments that the plaintiff' knew about and
   relied upon bringing the suit. See Chambers u_ Time Warrrec Inc., 282 F. 3d 147. 152-

   53 (2d Cir. 2002). The court must accept the allegations in the complaint as true and
   draw all reasonable inferences in the non-movant’s favor. ATSI Commc’rts, Inc. u.

   Shaor Fund , Ltd. , 493 F. 3d 87, 98 (2d Cir. 2007). To the extent that the Court wishes

   to dismiss the complaint, the plaintia should have 30 days to ale an amended
   oomplaint.

                  II. LIVEVIDEO'S CLAIMS ARE NOT FRIVOLOUS

          NAI contends that Livcvideo’s claims are "patently invalid and legally
   frivolous." This assertion is incorrect. While the Court has expressed concerns about

   certain aspects of Livevideo's claims. those mnoerns do not render the claims &ivolous

   for purposes of Rule 11

   A Livevideo's Federal Claims Are Not Frivolous

          1. The Dodd-Frank Act Claim


          NAI argues that Livevidco'sDodd-Frank Act claim is aivolous because the
   statute provides a cause of action only to "individuals" who are "employees," not to

   corporations. However, Livevi(leo has a colorable argument that it has standing to

   pursue this claim basedon the assignment of rights from its CEO, Mr. Greenspan, to
   I,ivevideo. The FAC speci£callyalleges that Mr. Greenspan"has agned to transfer

   rights and privileges due or held by the CEO personally to the PlaintifF." FAC 1 105
   n.35


          While the Court has expressed skepticismabout this theory, the question of
   whether rights under the Dodd- Frank Act’s anti-retaliation provision can be absigned
   is not settled law in this Circuit. Livevidoo's argument that such rights are assignable



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   represents a good faith attempt to extend existing law. which is protected under Rule

   11. See Fed. R. Civ. P. 11(b)(2) (permitting claims based on "a non&ivolousargument.
   for extending. modifying, or reversing existing law or for establishing new law").

         Moreover, NAI incorrectly states that Livevidco cited 18 U.S.C. § 1513(e) as
   the basis for its Dodd-Frank Act claim. While the FAC does reference this provision,
   it also clearly invokes the Dodd.Frank Act's anti.retaliation   provisions. The reference

   to S 1513(e) does not render the entire claim frivolous, particularly given that S
   1513(e) is referenced in the Dcxld-Frank Act itself. See 13 U.S.C. S 78u.6(b)(1)(A)(iii)

         2. The CFAA Claim

         NAI argues that livcvideo's CFAA claim is frivolous because Livcvideo does
   not allege damage to its computer system. However, the FAC alleges that defendants

   gained unauthorizedaccess to livwidco's proprietary email tracking system, which
   contained valuable business information_ FAC IIII 119.32. The FAC further alleges
   that this unauthorized accesscaused Livevideo to lose a competitive advantage in its

   e#orts to acquire Paramount.Id.

         \\lrile the Court has noted that -oosts associated with lost competitive
   advantages,pnnls or revenue cannot support a CFAA claim." this interpretation of
   the CFAA is not universally    accepted. Some courts have adopted a broader view of

   compensable damages under the CFM. See, e.g., EF Cultural Trauel BY u. ExpLorica,

   Inc., 274 F.3d 577, 585 (1 st Cir. 2001) (recognizingthat loss of bu8ines8 opportunities
   can constitute "loss" under the CFAA). Livevideo'sCFAA claim represents a good
   faith attempt to advance this broader interpretation of the statute.

         Furthermore. the FAC alleges that livevideo’s email tracking system was
   compromised. which could constitute damage to a computer system. The fact that


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   Livevideo did not attach "Exhibit #11" to the FAC does not render the claim frivolous;

   it merely means that livevidoo would need to produce this evidence during discovery


         3. The Court stayed our motion filed on February 12, 2025


         On February 11, 2025, plaintifF had med a motion for leave to supplement

   pursuant to Rule 15(d) of the Federal Rules of procedure. On Fcbruaw 12, 2025, the

   Court stayed the motion. which oontained a supplemental amendment to the
   complaint in, or about 36 pages, which included:

         1. Defendants' December 16, 2024, amended S-4 fIling that fal8eIy stated no
         defendant had been8ewed. when at least one defendant had txlen properly
         served during November 2024:


         2. NAPs December 11, 2024 oourt appearance confirming its awareness of
         service and the default;


         3_ Multiple         subsequent   S-4     amendments       perpetuating     these

         mrsrepresentatrc)ns.

         4_ Evidenoe of re8ultinf 6hareholder losses. includrng nn 8.4% decline
         in Par&mount's HUnk prix (Dkt_ &l);


         5. The Delaware Chancery Court’s January 29, 2025, decision in State of
         Rhode Island v. ParamountGlobal 6nding "a credible bash to suspect that
         Redstone torpedoed the Company-level Skydance Deal because it would not
         provide her with the benefits she wanted" (see Dkt. 84, Ex. 1);


         6.   Defendants' February 6, 2025, amended S-4 that continues to mi8state the
         litigation status




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         The supplementamendment focuses on and adds five federal claims in this
   matter and should be entertained by the court as to whether the plaintia' has
   established federal authority. FRCP Rule 15(d) states "The court may permit
   supplementationeven though the original pleading is defective in stating a claim or
   defense." which is why the supplemental oomplaint must be added and defendants

   can then file a new safe harbor rule 11 motion for sanctions if they feel there is still
   a lack of Federal causes of action.


         B. Livevideo's State Law Claims Are Not Frivolous

          1. Unfair Competition and Unjust Enrichment


         NAI argues that Livevideo'sunfair competitionand unjust enrichmentclaims

   Mil because the FAC does not allege that any of the defendantsreceived anything of
   value from Livevideo. This argument mischarachams the FAC, which alleges that
   defendantsmisappropriatedLivevideo's business opportunity to acquire Paramount
   FAC IIII 52-53, 86. The FAC further alleges that defendants were unjuntly enriched
   by securIng a merger agreement with SkI'dance on terms less favorable to Paramount

   shareholders than those I,ivevideo would have oKered. Id.


         These allegations, if proven, could support claims fbr unfair competitionand
   unjust enrichment under New York law. See ITC Ltd. u. Punchgini,Inc. , 9 N.Y.3d

   467, 476.77 (2007) (unfair competition encompasses "the misappropriation of the
   £ruits of another's labor and skill"); Mandarin TradIng Ltd. u. Wildenstein, 16 N.Y.3d
   173, 182 (2011) (unjust enrichment requires only that defendantwas enriched at

   plaintifFs expense and that equity and gocx1 conscience militate against permitting
   defendantto retain what plaintifF seeks to recover). The FACS states the business
   relationship with Paramount




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      • The Plaintiff had a pre-existingbusiness relationshipwith Paramount

          prior to the January 2, 2024 formation by the Board of Directors of a
          Special Committee. FAC 84.

      •   Plainti#contacted Paramountpublishing arm, Simon & Schuster July
          17, 2023 thru their Senior Vice President Jennifer Bcrgstrom and made

          a “proposal for a strategic digital media Al partnership." FAC 29

      •   On August 8, 2023. IJveVideo. Al emailed Paramount’s CEO with a new
          idea as part of a planned stratagem to begin development of joint IP
          LiveVideo.Al had acquired from its CEO into valuable film and
          tele\lsion assets. " FAC 30.

      •   August 8th 5:30PM email points out, Paramount is significantly
          involved in shared historical events involved in the true story of

          Myspace.com in 2005 during a critical juncture in the historical story.
                Subject: Congrats! Your edgy inspiring 2005 media fighter role
                made cut!

                The kid stays in the movie.“_"Whatsbetter then "The Social
                Network2”? "Myspace: End o£EUniverse".(working title)
                -“premieresXmas 2025

                “SceneTitleCvou will be forced to select actor to play your role)”
                "September 2005, BG announces $13.50 per share counter-bid

                (which Viacom is secretly fInancing)...to keep Myspace Public'

                “Despite failing to “create the Utopia deal Viacom the White
                Knight owning 20-339’a of Public Independent Myspace" FAC 31.

      •   The strategy proved sucxessful, as evidenced by Paramount’s CEO not
          rejecting or criticizing the offer and plan outlined by email. FAC 32.

    2. Tortious Interference with Business Relations



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         NAI contends that Livevideo'stortious interference claim fails because the
   FAC does not plausibly allege that Livevideo had a business relationship with
   Paramount.However, the FAC alleges that livevideo made a formal offer to acquire
   Paramount and that this offer would have been superior for Paramount's
   shareholders. FAC I1 33, 35-38, 53. The FAC further alleges that defendants
   interfered with this prospectivebusiness relationship by refusing to consider
   Livevideo's offer and instead pursuing the Sk)'dance merger. Id. IIII 40-44


          Under New York law, a plainti# need not allege an existing business
   relationship to state a claim for tortious interference; a prospectivebusiness
   relationship is sufficient. See Coruel Corp. u. Noonan, 3 N.Y.3d 182, 189-90 (2004)

   livevideo's allegations, if proven, could support a c]aim for tortiou s interference with

   prospective business relations

          3. Aiding and Abetting Breach of Fiduciary Duty


          NAI argues that Livevideo'sclaim for aiding and abetting breach of fiduciary
   duty is facially inadequate because IJvevideo does not plead that it was a stockholder

   of Paramountor had any fiduciary relationship with any relevant entity. However,
   the FAC allefes that IJvevideo was a prospectiveacquircr of Paramountand that
   defendants aided and abetted breaches of fiduciary duty by Paramount’s directors to

   Paramount’s shareholders. FAC IIII 86.103.


          While IJvevideo may not have standing to assert direct claims for breach of
   fiduciary duty on behalf of Paramount'sshareholders, it has a colorablc argument

   that. as a prospective acquirer whose ofFer was wrongfully rejected, it has standing
   to assert claims for aiding and abetting breaches of fiduciary duty that directly
   harmed Livevideo. This theory represents a good faith attempt to extend existing law,

   which is protected under Rule 11


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    Livevideo
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      Jurisdiction

            NAI argues that Livevideo has failed to establish subject matter jurisdiction

      However. I,ivevideo has made good faith arguments for both federal question
      jurisdiction and diversity jurisdiction.

            With    respect to federal question jurisdiction,   IJvevideo has asserted claims

      under the Dodd-Frank Act and the CFAA. As discussedabove, these claims, while
      novel, are not #ivolous. They represent good faith attempts to extend existing law,

      which is sufficient to establish federal question jurisdiction for purposes of Rule 11
      See lkll   u. Hood, 327 U.S. 678, 682-83 (1946) (federal question jurisdiction    exists

      unless the federal claim is "wholly insubstantial and frivolous").Since Livevideo.Al

      has already amended the complaint, it needed aU defendant parties to be involved so

      that plaintin61ed his supplemental amendment once those parties were served


             With respect to diversity jurisdiction, Livevideo has argued that cnmplete
      diversity exists because NAI has failed to comply with its mandatory disclosure
      obligation$3under Rule 7.1(a)(2), which requires parties in diversity cases to disclose

      the citizenship of every individual or entity whose citizenship is attributed to that
      party. NAI did not file its Rule 7.1 statement until February 26, 2025–the same day

      it med its sanctions motion. This belated compliance suggesLs that NAI may have
      been attemptingto conceal informationrelevant to diversity jurisdiction.


             Moreover. while the FAC alleges that livevideo and certain defendantsare

      citizens of New York, these allegations are not necessarily fatal to diversity
      jurisdiction. For example, if NAI's Rule 7.1 statement reveals that it is a citi7nn of a

      state other than New York. IJvevideo could potentially establish diversity
      jurisdiction by dismissing the non-diverse individual defendants. be Netoman-


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   Green, Inc. u. Alfonn-lnrrain , 490 U.S. 826, 832-38 (1989) (courts may dismiss

   dispensable non-diverse parties to preserve diverHity jurisdiction).




        m. LIVWIDEO DID NOT FILE THIS ACTIONFOR AN IMPROPER
                                         PURPOSE

          NAI contends that Livevideo Sled this action for the improper purpose of
   harassing defendants and continuing Mr. Greenspan’s alleged "litigation campaign"

   arising hom unrelated events. They argue about service and whether they had
   obtained service, which they disputed and the various insucs that they raised with

   the Court. These arguments are without merit.




   A. Livevideo's Claims Are Based on Recent Events

          The FAC primarilv concern8 events that occurred in June and July 2024,
   speci6cally, defendants' failure to respond to Livevideo’s offer to acquire Paramount.

   and their decision to pursue the Skydance merger instead. FAC II 29.44. While the
   FAC does reference Mr. GreenspaIr'shistory with Intermix and My8pacc, these
   references provide relevant backgroundinformation about Mr. Greenspan's

   experiencein the technology and media industries, which is directly relevant to
   livevideo's claim that it could have made a superior offer for Paramount.Id. II[ 13.
   24, 51-53

          NAI's suggestion that this action is merely an attempt to relitigatc Mr
   Green$pan's removal from Intermix and the subsequentsale of Myspace to News



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   Corporation is unfounded. The claims in this action are ba&ed on defendant.g recent

   conduct in connection with the Paramount-Skydancemerger. not on events that
   occurred   nearly two decades ago.




   B. Livevideols Litigation Conduct Has Been Reasonable

          NAI argues that Livevideo's litigation conduct demonstrates an intent to
   harass defendants. However, Livevidco'sconduct has been reasonableunder the
   CIrcumstances


          Livevideo’sattempts to serve defendantswere made in good faith. While the
   Court ultimatejy found that service was ine#ective, Livevideo had a reasonable basis

   for believing that service was proper. For example, with respect to Ms. Redstone.
   I,ivevideo's counsel initially agreed that service through Corporation Trust was
   inefFective, but later argued–based on further research into Maryland law–that
   such service was proper under Md. Code Ann., Corps. & Ass’ns $ 1-4010))(2). This

   change in position reflects counsel's good faith c£fort to research and understand the
   applicable law. not an intent to harass


          Similarly, Livevideo'srequests for entry of defau]t were made in good faith
   based on its belief that defendants had been properly served and had failed to respond

   within the required time. While the Court ultimately denied these requests,
   Livevideo had a reasonable basis for making them.


          NAT ako criticizes Livevideo for filing a petition with the Federal
   Communications Commission seeking to block the Paramount-Skydancemerger.




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   However, this petition was a legitimate exercise of Livevideo'sright to participate in

   the regulatory review process. It does not evidence an intent to harass defendants.




   C. NAI’s Allegations Regarding Mr. Greenspan's Litigation History Are
   Irrelevant and Unsupported

          NAI devotes a $ignificant portion of its motion to allegations about Mr.
   Greenspan's litigation   history. suggesting that he is a "vexatious litigant"   who has
   been sanctioned in other cases. These allegations are irrelevant to whether sanctions

   are warranted in this case.

          Rule 11 requires an objective assessment of the pleadings in this case, not an

   inquiry into the subjectivemotivations of Iivevideo's CEO based on his conduct in

   unrelated litigation. SEE Business Guides, Inc. u. Chromatic Cont Inc hs Enters., Inc.,
   498 U.S. 533, 551 (1991) (Rule 11 imposes an objective standard of reasonable
   inquiP)')


          Moreover, NAI's allegations about Mr_ (;rcensp&n'slitigation hiSbOIy are

   unsupported by admissible evidence. NAI relies on unauthenticated documents and

   hearsay statements about proceedings in other courts. Such evidence is insufEcient

   to support a motion for sanctions. See Bowler u. U.S. Immigration & Naturatization
   Seru. , 901 F. Supp, 597. 604-05 (S.D.N.Y. 1995) (motion for sanctions must be
   supported by admissible evidence).




      IV. SANCTIONS UNDER THE COURT'S INHERENT POWERSARE NOT
                             WARRANTED




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          NAI also seeks sanctions under the Court’s inherent powers, arguing that
   IJvevideo and its counsel have acted in bad faith. This argument is without merit

   A. The Standard for Inherent Powers Sanctions is Not Met

          Sanctions under the Court’s inherent powers require "clear evidence that (1)

   the offending party's claims were entirely meritlew and (2) the party acted for
   improper purposes."Rrusort u. Cinque & Cinque, P.C., 221 F.3d 71, 79 (2d Cir. 2CX>0).

   This is a higher standard than that required for Rule 11 sanctions. See Chambers u.

   NASCO, Inc., 501 U.S. 32, 46 (1991) (inherent powers sanctions require a finding of

   bad faith).

          hI djgcussed above, livevidco's claims are not "entirely meritles$;." They are
   supportedby reasonable legal and factual bases. Moreover. NAI has not presented
   "clear evidence" that IJvevideo acted for improper purposes. NAI's allegations about

   Mr. Greennpan’s litigation history and speculation about his motivations do not
   constitute clear evidence of bad faith




   B. NAI's Allegations of Misconduct by Livevideo’s Counsel Are Unfounded

          NAI alleges that IJvevideo'scounsel, Mr. Constants, allowed a non-lawyerto
   make filings in this Court under his name. This allegation is basedon Mr. Con$tant,i'
   admission during the February 12, 2025, show-cause hearing that he did not write,

   review, or authorize the fIling of certain motion papers.


          However, Mr. Constants explained during that hearing that these papers were

   prepared by a paralegal. 2/12/25 Tr. at 22:20-23:7; 24:6-7. While the Court properly
   admonishedMr_ ConstanB for failing to review these papers before they were filed,


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    this
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        incident does not evidence the kind of bad faith required for inherent powers
    sanctions


          Moreover, Mr. Constants promptly withdrew the motion papers in question

    after the Court expressed concerns about them. This prompt remedial action further
    undermines any suggestion of bad faith.

    C. NAI's Own Conduct Undermines Its Request for Sanctions

           NAI's request for sanctions is particularly inappropriate given its own conduct

    in this litigation. As noted above. NAI failed to comply with its mandatory disclosure
    obligations under Rule 7.1 until February 26. 2026–the same day it filed its

    sanctions motion-despite having appeared in this action months earlier.


          Moreover, NAl’s 8anctions motion ittnlf contains misch&racteri7ations of the
    record and the applicable legal standards. For example, NAI incorrectly sstates that

    livevideo cited 18 U.S.C. S 1313(e) as the basis for its Dodd-Frank Act claim, when

    in &ICt the FAC clearly invokes the Dodd-Frank Act's anti-retaliation provisions.

          These actions suggest that NAPs sanctions motion is not a good faith effort to

    address genuine misconduct.but rather a tactical maneuverdesigned to intimidate

    I,ivevideo and its counsel. The Court should not countenance such tactics by imposing

    ganctions on Irivevideo or its counsel.


           Defendant National Amusements.Inc. ("NAI") seeks to weaponize Rule 11 to
    silence legitimate claims and deprive Plaintiff livevideo.Al   Corp ("Livevideo") of its

    day in court. NAI’s motion for sanctions jg procedurally defective. substant.ively
    mcritless, and represents a transparent attempt to distract aom the serious
    allegations in PlaintiHs complaint_ Far from being frivolous, PlaintifFs claims arise



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   from concrete evidence of securities law violations by Defendants. including their
   failure to disclose material litigation developments in SEC 61ings.


         NAI's motion ignores the Court's February 12, 2025 Order. which stayed

   Plaintiffs motion to supplementin complaint with additional federal securities law
   claims based on newly discovered evidence. That evidence includes Defendants'

   Deoember16, 2024 amended S-4 filing that falsely stated no defendanthad been
   served when at least one defendant had been properly served during November 2024,

   and multiple subsequent S-4 amendmentsperpetuatingthese misrepresentations
   These material omissions caused Paramount's stock price to drop by 8.4% from
   PlaintiHs July 2024 purchase price. directly harming shareholders.


          \\lrile NAI criticizes PlaintifFs litigation c1)nduct. it is NAI that has repeatedly
   violated Federal Rule of Civil Procedure 7.1 by failing to nIe mandatory corporate
   disclosure statements despite making multiple appearances.This violation is
   particularly egre$rjousgiven that NAI. through counsel also representinga>ntroller
   Redstone, seeks sanctions while deliberately withholding information necessary to

   establi8h diversity jurisdiction.


          The Court should deny NAI's motion for sanctions and lift the stay on
   Plaintiffs motion to supplement its complaint to allow these serious securities law

   violations to be properly adjudicated


   Respectfullysubmitted,

   Dated March 12. 2025


                                                    By /d Alfred C. Constants IIT
                                                    Alfred C. Constants III, Esq.
                                                    Constants Law Offices. LLC.


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                   115 Forest Ave., Unit 331
                   lx>cust Valley, NY 11560
                   Email: Constantslaw49@gmail.com
                   Attorney For Appellant




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            EXHIBIT #1   Filed 03/




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              urd urharx>odchangeofcuruol scvaanu benefits on certainqulifying terminationsfollowing the Closing,
                                                                                                                         Filed 03/
       FurrhaTnue, the New Pamrtnunt Boardwill consist of up to 13 members dnignacd by Sky(lancepriorto the Closing, including David
       Ellison

       Addition£rlly,pursuant to the NAI Transaction,the NAI Equity Investorsagreed to punhasc, upon the terms andsubject to Ihc conditions
       sa Mr in the NAI Suck Purclrase Agnxtncnl all of the outstandingequity Intents of NAI from the NAI Shanholclns.As a tKneficiary
       of the NAI Sharxlx>tcb:KM£ R<ls80ru will rmcive & poetion of the pnx>acxls from the NAI Transaction.M£ Rajgunc is tIn noIunuutive
       C’hnir of the PararnoyntBoard. As of F>cccmtxr Sl. 2024. Ms. Rcxlst£)ne ww thc txxreficial l+wncr of 52,226 £mh-:wttlod ParamountClass
       A common stock phantom units. 61,920 cash4LqtlCdParamountClass B common stock phanlom units, and617,409 sharesof Paramount
       C]ass B nommcinstock, which ingludcs177326 vested, deferred Paramount RSU AwaKls. Ms. Redstone is a bencGciwy of the NAI
       Shareholders,andas of December 3 1, 2024. NAI bcncficially owned, directly andthrough two who]ly-owned subsidiari%,approximaely
       77.4% of the ParamountClass A wmmcin stockoutstrndinB andaf4Foximakly 9.5% of the ParamountClass A wmmon stxnk arId
       Par&rrnuntClass B wnnna sock outqandirIBon a wmbhnd basi£ NAI is orruullod by the Sumrm M. Redstone NatIonal AmuwnarB
       Part B Canal TnIst (also known as the NA Part B (xncral Trust) (the Uneral Trustn which owns80% of the voting internl of NAI.
       NA Administration, 1.1.Cis the corporate tru5tce of the (;atcml Tnnt, andis governed by a seven memtnr board of directors,which acts by
       majority vote (subject to certain exceptions),including with respect to the NAI sharesheld b) the GbvlcralTrust. Ms. Redstone is the
       Chairperson,CEO andPresident of NAI. is oneof the sevendireaors of NA Administration, I.I,C andone of two directors who arc
       beneficiaries of the General Trust. Ms, Redstone also has a minority indirtx! bereficia] interest in the Pararnount Class A aJnunon suck
       andthe ParamountClass B common stock owned by NAI (andits wholly<>wncd subsidiaries)

       In conruxxionwith the NAI Trarruc0on. (i) the NAI Sharcholden (ii)wrtain directorsand ofTicns of NAL inctuding Ms. Raktonc in her
       capncityas Chdi4xrson,CEO and Prwidcnt of NAI (suchindividuals. the "N Al D&O IndcvnnitmsH)and (iii) NAI and NAIEII entered
       into an indemnincaGonandcontribution agreemencwhich terminatedund superseded owain existing indcmnincMon arrangements
       amongthe partiestheretoand providedthe NAI Shmeholdca andthe NAI D&O Indcmniteeswith certaininckmnincation rights relating to
       the Transaaionsand tIn NAI Tmnmaion from NAI andNAII-:H cappedat a maximumof MX) million. Affiliates of the N/\I F4uity
       InwBars have gmrzntwd the in)Tncnt and pcrfurnanw of the foregoing hxkmninaaiul             obliB+lionsofNAI andNAm,         subjectto the
       lirniutions set forthin the indemnificatiwt andconuibution agremalt

       For Further information, see the sectionsentitled -lnlcrrslr of Ajtllnles in the TraIn;actions Interests of Paramount .-Wttales in Itw
       Transmtlons–lnlensls of Paramount b FxecutFw%rcers and Directors in the Transactiort\" ma HRiskFactors--lUsh RelatIng to the
       l}ansacttons–Executive ofrcers, directors and a£Fliaresof Paramount orxl Warne may blw iwensts tn th T}anstuttons tInt are
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       286 andSC nsjwlivd}, of this information siarernult/pmspeaus


 ():   Will I still in paid dividends prior to the completion of the Transactions?

 A:    Prior to th£ completion of the Tansactions,Pwwnount may e$tablia a rwvxl date for, clcclan md Fly (a) quarterly cash dividends
       mrsislctrt with past practioe, neIl in an :rrrxxrru no greater dwi SO_05 per slweofPararwunt mmnnn stock aid (b) man<takyrydi\klcrxj3
       al djgHbraionsrquiu:d wnuanl to its orBanizaHocnl documen6 as in effect on July 7_ 2024, if any. For more information regarding the
       payment of dividends, sw the section entitled-Summary of itn Transc€1tonHgrvemeru-{ovcrunrs and Agl=£mcnls CnrEtucl of Business
       by Paramounf’ beginningon page 191of this information stntcmcm/prospectus

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                                                                                             Approved by OMB (C)f6oe of



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                            Document 127
                           (REFERENCE COPY - Not for submission)                       Filed 03/
                           Commercial Broadcast Stations Non-Biennial
                           Ownership Report (FCC Form 323)
                           File Number 0000245733    Submit Date. 2024+>&03   FRN 6035486323

                           Purpose CommercIal Broadcast Stations Non8iennial Ownership Relxirt           Status. Reoetv
                           06A)3/2024 FilingStatus ActIve


                                                    Section 1 - General Information


                            FRN                           Entity Name
  1. Respondent
                            0035486323                    NA Administration,LLC



                            Street       City (and Country if non U.S. Stale (-NA- tfnonU.S.       Zip
                            Address      address)                      address)                    Cale       Phone

                            C/O          Naples                         FL                            34109 +1 (239}
                            Quarks &                                                                        4965
                            Brady LLP
                            1395
                            Panther
                            LaneF
                            Suite300




  2. Contact                Name                                                      Organization
  Representative            Matthew S. DeINero                                        Covington & Burling LLP


                                                                                             Zip
                            Street Address   City (andCountry if non U.S. address)   State     Code        Phone


                            the              Washington                              DC        20001       +1 (202) 66
                            CityCenter
                            850 Tenth
                            Street, NW




                           Not Applicable
  3. Application
  Filing Fee
                    -As of" date                                          12/31/2023


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                                                                          When filing a biennIal owner
                                                                          and resubmitting a prior biel
                                                                          date must be Oct. 1 Of the ye
                                                                          filed.




  5. Licensee(s)
  /Permittees(5)   Respondentis filing this report to cover the following Licen9ee(sWermittee(s)and
  and Station(s)   Llcen8eUPumittee IWarm                                                   NIN
  /Permit(s)
                    CBS Broadcasting in                                                     0003+821 t



                   Fac. ID No.              Call Sign          City

                    9610                     WC8S-TV            NEW YORK

                    9617                     WBBM-TV            CHICAGO


                    9628                     KCBS-TV            LOS ANGELES

                    9629                     WCCO-TV            MINNEAPOLIS

                    9640                     KCCW-TV            WALKER

                    25452                    KPIX-TV            SAN FRANCISCO

                    25453                    KYW-TV             PHILADELPHIA


                    25454                    KDKA.TV            PrrrSBURGH

                    72123                    WWJ-TV             DErROiT


                   LicenseePermittee Name                                                     FRN

                    CBS Television Stations Inc                                                00CH425



                   Fac. ID No.                    Call Sign           City

                    47902                         WFOR-TV              MIAMI                      FL


                    47903                         KCNGTV               DENVER                     CO



                   Licensee©ermittee Name                                                           FR

                    Miami Television Station WBFS Inc                                               00
         Licen8ee/Permttt@Name

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         Los Angeles TelevIsionStationKCAL LLC                        Filed 03/
         Fac. ID No.                Call Sign           City                      St


         21422                      KCAL-TV              LOS ANGELES              C




         Lic8n8eafPermttteeName                                                  FR

         Sacramento Television Stations Inc                                      00



         Fac. ID No.                Call Sign            City                     S


         51499                      KMAX-TV              SACRAMENTO

         56550                      KOVR                 STDC}(roN



         LicenseePermittee Name

         San FranciscoTelevision Station KBCW Inc.



         Fac. ID No,                Call Sign         City

         69619                      KPYX              SAN FRANC}SCO



         Lioensee/PermitteeName                                                   FF

         AtlantaTelevision StationWUPA Inc                                        0(



         Fac. ID No.                      Call Sign            City          State

          6900                             WUPA                 ATLANTA      GA



         Licensee/PermttteeName                                            FRN

          Television Station KTXA Inc.                                     tX)0205;



         Fac. ID No.                 Call Sign          City                     Sti

          51517                          }frxA           FORT WORTH               T)


         Licensee/Permtttee Name

          Pittsburgh Television Station WPCW inc
                      Detroit Television Station WKBD Inc                                                                    0(

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                     Fac. ID No.                      Call Sign                          City
                                                                                                Filed 03/                State

                     51570                             WKBD-TV                               DrrROIT                      MI



                    Licen$ee/Permtttee Name                                                                       FRN

                     CBS LW LLC                                                                                    CH)213551:



                     Fac. ID No.                     Call Sign                        City                                 Sh
                     73206                            WLN’Y’-TV                       RIVERHEAD                            N\


                     Licen$ee/PermtttoeName

                     PhiladelphiaTelevision StationWPSG Inc.


                    Fac. ID No.                     Can Sign                   CIty                                          St

                     12499                           WPSG                      PHILADELPHIA                                    PI




                    Licensee/Permlttee Name                                                                             FRN

                     Ttre CW Television Stations Inc                                                                    0003


                    Fac. ID No.                         Call Sign                     City                             State

                     23428                               KSTW                          TACOMA                           WA


                    Licen9ee/Perrntttoe Name                                                                              FRI

                     CBS StatIons Group of Texas LLC.                                                                      002



                    Fac. ID No.                                                                                            StE
                                                    Call Sign                  City

                     23422                           IfMr                       FORT WORTH                                 T>




                                  Section II - Non-Biennial Ownership Information


  1. 47 C.F.R.      Licensee/PeFmittee Respondents should list all contracts and other instruments set forth in 47 C

  Section 73.3613   through (c> for the facility or facilities listed on this report. In addition. attributableLocal Marketint
                    attnbutaUeJoint Sales Agreements (JSAs) must be disclosed by the licensee of the brokerIng s
  and Other         the agreement is an attributable LMA, an aHributatHe JSA, or a network affIliation aqreementp ch
         Entities that are part of an organizationalstructure that inclules tnlding companiesor othertorn

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         separate ownershipreports. In such a structure do not report, or file a separate report for. any in
         an attributable interest in tIn Licensee(s) or Permittee(s) IOIwhich the report is being submitted.


         Please see the Instrtnbons   for further detail concerning Interests that must be reported in respor


         The Respondent must provkIe an FCC RegistrationNumBr for each interest holder refxxted in
         Pba9e see tIe InstnxRIOris for detailed ITformatbr\and grxlanoe oonoerningthis requirement.


         Owner8hip Information

          FRN                              O0354863a

          Entity Name                      NA Administration, LLC

          Atldta8s                         PO Box

                                           Street 1                          cIa QuarloS & Brady LLP

                                           S+eet 2                            1395 Panaw Lane, Suae 3(D

                                            City                              Naples

                                            State (-NA- tf ntx++J.S.          FL

                                            address)

                                           Zip/Postal Code                    34109


                                            Country (if norbU.S.              Unita States
                                            address)

           Listing Type                     Respondent

           PositIonal Interest8             Respondent

           (check all that apply)


           Intere8t Percentages             Voting                            0.0%
           (enter percentagevalues
          from 0.0 to 100.0)
                                            Total assets (Equity Debt         0.0%
                                            Ptus)


           Does Interest holder have an attributable interest in one or morebrOadcast SUBons

           that do not appear On this nep<a


          Ownership Information

           FRN                              0019287812

           Name                             Shan Redstone
         P08ition81 Interests          Director


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         (check all that apply)

         Interest Percentages         Voting
                                                                     Filed 03/
                                                                    14,3%
         (enter percentagevalues
         torn 0.0 to ICD.0)
                                      Total assets (EquIty Debt     0.0%
                                      Plus)

         Does interest holder have an attributable tntere8t in one or morebroadcast stations
         that do not appear on this repcxn


         Owner8hipInformation

         FRN                           OOa078280


         Name                          Tyler J. KOrff

         Address                       PO Box


                                       SUeet 1                      846 University Avenue

                                       Street 2

                                       City                         Norwood


                                       State ("NA" tf non+).S.      MA
                                       address)

                                       ZiFVPosnlCode                02062-2631


                                       Country (if norbtJ.S.        UnIted States
                                       atkIns8)

         ListIng Type                  Otter Interest Holder

         Positional Interests          Director

         (check all that apply)


         Intore8t Percentages          Voting                       14.3%
         (enter percentagevalues
         from0.0 tO ICX>.0)
                                       Total assets (EquIty Debt    O.WG
                                       Plus)

         Don Interest heber have an attributable int8rut in one or more broadcast stations
         that do not appear on thIS report?


         OwnershIp Intormatkxt
         Listing Type                  Other Interest Holder

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         PosItional Interests
         (check all that apply)
                                       Director                      Filed 03/
         Interest Percentages          Voting                       14.3%
         (enter percentagevalues

         from 0.0 to 100.0)
                                       Total assets (Equity Debt    0.0%

                                       Plus)

         Does interest holder have an attributable interest in one or morebroadcast stations
         that do not appear on this report?



         Ownership Information

         FRN                           2130017771


         Name                          Norman I. Ja60bs


         Address                       PO Box


                                       SWeet I                      846 University Avenue

                                       St,e,t 2

                                       City                         Norwood


                                       State ("NA" tf non+J.S.      MA
                                       address)

                                       Zip/Postal Code              02062-2631


                                       Country (if non-U.S.         United States

                                       address)

         Listing Type                  Other Interest Holder

         Positional Interests          Director

         (check all that apply)


          Interest Pere8ntage8         Voting                       14.3%
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         Does interest holder have an attributable interest in one or morebroadcast stations
         that do not appear on this report?


         Ownership Information
                                       Country (if non-U.S.           United States


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         Listing Type
                                       address)

                                       Other Interest Holder
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         Positional Interests          Director

         (check all that apply)

         Interest Peroentage$          Voting                         14.3%

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         from 0,0 to iaa.o)
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                                       Plus)

         Dus interest holder have an attributable interest in one or more broadcast stations
         that do not appearon this report?


         Ownership Information

         FRN                           0027240225

         Name                          Jill S, Krutick

         Address                       PO Box

                                       Street     1
                                                                      &16 University Avenue

                                       Street 2

                                       CIty                           Norwood


                                       State ("NA" if non-U.S.        MA
                                       address)

                                       Zip/Postal Code                02062-2631


                                       Country (if non-U.S.           United States
                                       address)

         Listing Type                  Otter Interest Holder

         Positional Interests          Director

         (check all that apply)


         Interest Percentages          Voting                         14,3%
         (enter percentage values
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                                       Plus)

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         that dO nOt anoearon this report?
                                       Zip/Postal Code               02062-2631


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                                       address)
                                                                      Filed 03/
                                                                     United Stat%




         LIstIng Type                  Ottnr Interest R>kIer

         Positional Interests          Director

         {check all that apply)

         Intere8t Percentages          Voting                        14.3%
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         from0.0 tO I00.0)
                                       Total assets (EquIty Debt     O'0%

                                       Plus)

         thee interest holder have an attributable interest in one or more broadcast stations
         that do not appear on this nepcxn



         Ownership Information

         FRN                           0035511716

         Entity Name                   NA AdministrativeTrust


         Address                       PO Box

                                       S#eet r                       cIo Chrartes & Brady LLP

                                       Street 2                      1395 Panther Lnne, SuIte 3(X)

                                       City                          Naples

                                       State (-NA- if norhU.S.       FL
                                       address)

                                       aFYPo€tal Ccxh                :>+l09

                                       Country (if non.U.S.          United States
                                       address)

         U8tlng Typo                   Other Interest Ho}der

         P08itiorral Interests         StockhokJer
         (aWk all that apply)

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                  FRN                                0019287812
                                                                                     Filed 03/
                                                                                         Name                Shari


                  FRN                                0023078280                          Name                Tyler

                  Relationship                       ParentK)hild




                  (d) 18 Respondent seeking an attribution exemption for any officer or dIrector with
                  duties wholly unnhted to the Lioen see(s)?

                  IfWtB: complete the inforrrntion in the ruluRed tiekls ard submIt an Exhitxt fully desujjjng
                  that individual’sdutIes and responsibilities,and explaining why that lndiadualshould not be
                  attributed an interest




  CertIfication   SectIon                        Que8tion                                       Re8ponse

                  Authorized Party to Sign        WILLFUL FALSE STATEMENTS ON
                                                  THIS FORM ARE PUNISHABLE BY

                                                  FINE ANDPOR IMPRISONMENT (U.S
                                                  CODE, TITLE 18, SECTION IOOl}. AND
                                                  /OR REVOCATION OF ANY STATION
                                                  LICENSE-OR coNSTRUGrtoN
                                                  PERMIT (U.S. CODE. TITLE 47.
                                                  SECTION 312(a)(1)), AND/OR
                                                  FORFEfTURE(U.S.CODE, TITLE 47
                                                  SECflON sao)

                  Certification                                                                 Official TItle: Dire
                                                  I Certify that I haw examined this report
                                                  and that to the best of my knowl<Jge and      Exact Legal ntle
                                                  beIIef. all statementsin this report are      Administration,
                                                  tun. oorretX antI oomplete.                   Name: Tyler Ker
                                                                                                Phone: 781461 1 (


                                                                                                0603/2024
                                                                                                           /Wovedtyy    C3MB(Otfioe of



EH-BCM
  F(g   C:r£r:l?lrlhotbr\;
        Commission
                              Document 127
                             (REFERENCE COPY . Not for submission)                                       Filed 03/
                             Commercial Broadcast Stations Non-Biennial
                             Ownership Report (FCC Form 323)
                             FIleNumber (X)002457Wt           SUbmIt Date. 2024{H1)3       FRN. 0039186323

                             PurTX)se. Commercial Broadcast Stations Non-Biennial Ownership Report                     StatusReceiv
                             06A)3£2024       FiIIng Status   Active



                                                          Section 1 - General Information


                             FRN                                       Entity Name
  1. Respondent
                              0035541716                               NA AdministrativeTIust



                             Street        City (and Country if non U.S.             State ("NA'' if non-U.S.     ap
                             Addre98       address)                                  adcRes8)                     Code     Phone

                              cIa          Naples                                    FL
                                                                                                                  34109 +1 (239)
                              Quarles &                                                                                 4965
                              Brady LLP
                              1395
                              Panther
                              Lane,
                              Suite300




  2. Contact                 Name                                                                    OrganIzatIon
  Representative              Matthew S. DeINwo                                                      Covingk)n & Burling LLP


                                                                                                           Zip
                             Street Addre88       City (andCountry if non U.S. address)            State   Code          Phorn

                              One                  Washington                                       [E     20(X)1        +1 (202) 66
                              CityCenter
                              850 Tenth
                              Street, NW




                             Not Applicable
  3. Application
  Filing Fee
                    -As of- date                                           1281/2023

EH-BCM              Document 127                                              Filed 03/
                                                                           When filing a biennial owna
                                                                           and resubmitting a prior bie
                                                                           date must be Oct, I of the yI
                                                                           fIled.




  5. Licensee(s)
  /Permittees(9)   Respondentis filing this report to cover the following Lloensee(sWermtttee(8) and
  and Station(s)   Lieen8edPBrmRtee NaEIn                                                    mN
  /Permit(s)
                    CBS BroadcastingM                                                         OO0348211




                   Fac. ID No.              Call Sign           City

                    9610                     WCBS-TV             NEW YORK


                    9617                     WBBNHV             CHICAGO

                    9628                     KCBS-TV             LOSANGELES

                    9629                     WCCO-TV             MINNEAPOLIS

                    9640                     KCCW.TV            WALKER

                    25452                    KPIX.TV             SAN FRANCISCO


                    25453                    KYW-TV              PHILADELPHIA


                    25454                    KDKA.TV             PiTrSBURGH

                    72123                    WWJ=TV              DfrRoIT


                   Lima$ee/Fbrmittee Name                                                      FRN

                    CBS TelevisIon Stations Inc                                                 000442:


                   Fac. ID No.                    Call Sign            CIty                        State

                    47902                         WFOR-TV              MIAMI                       FL

                    47903                         KCNC.TV               DENVER                     CO


                   Licen8ee/Permitt8e Name                                                           FR

                    Miami TelevisIon StatIon WBFS Inc                                                00
         Licensee/Permitt8eName

EH-BCM   Document 127
         L08 ArBdes Televidon StationKCAL LLC                      Filed 03/
         Fac. ID Uh               Call Sign            City                     St

         21422                     KCAL-TV             LOSANGELES               C



         Licen8ee/Permtttee Name                                               FR

         Sacramento Television Stations Inc                                    00


         Fac. ID No.              Call Sign            City                     S

         51499                     KMAX-TV                 SACRAMEhrro

         56550                     KOVR                    STOCKroN



         Llcen800P8rmittee Name

         San Francisoo Television StationKBCW Inc



         Fac. ID No.              Call Sign         CIty

         69619                    KP'rx             SAN FRANCISCO



         LIcensee/PermttteeName                                                 FF

         Atlanta TelevISIon StatIon WUPA Inc                                    0(


         Fac. ID No.                                                      State
                                       Call Sign            CIty

         6900                          WUPA                   ATLANTA      GA



         Lie&n8eoPormittee Name                                          FRN

         Television StationKTXA inc.                                     C>002057



         Fac. ID No.               Call Sign         CIty                      Sti

         51517                      }frxA             FORT WORTH               T)

         Li08n88WPermttteeName

         Pittsburgh TelevIsion StationWPCW Inc
                      Detroit Television Station WKBD Inc.                                                                     at


EH-BCM               Document 127
                     Fac. ID No.                        Call Sign                        City
                                                                                                Filed 03/                State

                      51570                              WKBD-TV                         DIPRatT                          MI



                     Licensee/PermitteeName                                                                        FRN

                      CBS LITV LLC                                                                                 0CJ213551:



                     Fac. ID No.                     Call Sign                        City                                 Sta

                      73206                             WLNY-TV                       RIVERHEAD                             N\



                     LicenseePermittee Name

                      Philadelphia Television Station WPSG Inc



                     Fac. ID No.                    Call Sign                  City                                         St

                      12499                          WPSG                       PHILADELPHIA



                     Licensee/PermtRee Name
                                                                                                                         FRN

                     Tho CW TeleUsion Stations Inc,                                                                      0003



                     Fac. ID No.                         Call Sign                     City                            State

                     23428                               KSTW                          TACOMA                          WA


                    Licen8ee/Permtttee Name
                                                                                                                          FRI

                     CBS Stations Group of Texas LLC.                                                                     00:


                    Fac. ID No.
                                                     Call Sign                 City                                        Sti

                     23422                           FCFyr                      FORT WORTH                                 T)


                                 Section II – Non-Biennial Ownership Information


                    Licensee/PermitteeRespmlents should list all contracts and other instrumerrts set forth in 47 C
  1. 47 C.F.R.
                    through <c) tor the faciIIty or taciltties list<1 on this report. In addttion, attributable Local Martcount
  Section 73.3613
  and Other         attributableJoint Sales Agreements (JSAs) must be disclosed by the licensee of the brokerIng SI
                    the anreement iq an attrihrltahln    I MA nn ntt,ihrltnb,in lga A, n nah„nd, aHitia tiAn an,AA,nAnt Ah
          Entities that are part of an organizationalstrudure that irxludes holding companies or otherforrr

EH-BCM     Document 127                                                       Filed 03/
         separate ownershipreports. In such a structure do not report. or file a separate report for, any in
         an attributableinterest in the L}cen see(s) or Pnmittee(s) for whichthe report is being submitted.

         Pteaso see the Instructions for further detaIl eonceming interests that must be report<1 in respor


         The Respondent must provide an FCC RegistrationNumber for each interest ttoWw reported in
         Please see the Instructionsfor detailed information and guidance concerningthis requirement.


          Ownership Information

           FRN                             O035511716


           Entity Name                     NA AdministrativeTrust

           Address                         PO Box

                                           Street r                          c/o Quarles & Brady LLP

                                           Street 2                          1395 Panther Lane. SuIte 300


                                           City                              Naples

                                           State {-NA- if non-U.S.           FL

                                           address)

                                           Zip/Postal Code                   34109


                                            Country Of non-U.S.              Unrted States

                                           address)

           Listing Type                     Respondent


           PosItional Interests             Respondent
           (check all that appty}


            Interest Percentages            Voting                           0.0%
            (enter percentagevalues
           from 0.0 to 100.0)
                                            Total asaets (Equity Debt        0.0%
                                            Plus)

           Dns interest holder have an attributable interest in one or more broadcast stations
           that do not appear on this report?



           Ownership Information

           FRN                              0035486323

           Entity Name                      NA Administration,LLC
                  Positional Interests            Other -Trustee

EH-BCM            Document 127
                  (ch$ck all that apply)

                  Interest Percentages            Voting
                                                                                      Filed 03/
                                                                                     100. M

                  (enter percentagevalues
                  from 0.0 to ICX1,0)
                                                  Total assets (Equity Debt
                                                  Plus)

                  Does interest holder have an attributable interest in one or more broadcast stations
                  that do not appear on this report?



                  (b) Respondent oerttfies that any interests, including equity, financial, or voting
                  inter%t8, not reported in this filing are non-attributable.
                  If "No." submit as an exhibit an explanaUon




                  (c) Are any of the individuals listed as an attributable interest holder in the Respondent
                  or related to each other as perentchikl or as siblings?


                  If "YeS," provide the following information for each such the relationship




                  (d) is Respondent seeking an attribution exemption for any officer or director with
                  dut}es wholly unrelated to the Ucen8ee(8)?


                  If "YeS" complete the information in tIn r<iuired fields and submit an Exhibtt fulty describing
                  that individual's duties and responsibilities,and explaining why that individual should not be
                  attributed an interest.




                  Section                          Question                                      Response
  Certification
                  Authorized Party to SIgn          WILLFUL FALSE STATEMENTS ON
                                                   THIS FORM ARE PUNISHABLE BY

                                                    FINEAND40R IMPRISONMENT(U,S
                                                    CODE, TrrLE 18. SECTION 1001), AND
                                                   /OR REVOCATIONOF ANY STATION
                                                    LICENSE-OR CONSTRUCTION
                                                    PERMIT (U.S. CODE, TITLE 47
                                                    SECTION 312(a)(1 )), ANnA)R

                                                    FORFEITURE (U.S. CODE. TrrLE 47
                                                    SECTION 503)

                                                    I cnttfv that I have examinedthis reoor!
                                                                                                  AP(xowaby C)MO (OfliW at


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  FCc-
        £rrHru8tBn+
        Corrunl SSiOn
                         Document 127
                        (REFERENCE COPY - Not for submbsion)                                 Filed 03/
                        Commercial Broadcast Stations Biennial
                        Ownership Report (FCC Form 323)
                        FM Number 00(X)227410           SBmR Dale 2023-11-21      FRN O1129958717

                        Purpose Commercial Broadcast Stations BiennIal OwnershIP Report               Sbtus Received
                        FiIIng Suus'   ACtIve



                                                      Section 1 - General Information


                        FRN                                   Entity Narrbe
  1. Respondent
                         0029958717                           Swrner M. R<lstone National AmusementsPart B Gerwal Tr



                        Street           City (andCountry if           State (-NA- if mr+U, Zip
                        Addrus           non U.S. addrws)              S. address)          Code        Phone           Emt

                         &46              Norwood                       MA                  02CB2- +1 (781)              Ima

                         UniversIty                                                         2631   461 -1600            carl
                         Avenue




  2. Contact            Name                                                              OrganizatiOn
  Representative
                         Nana A. Dry                                                        Lerman Seater PLLC


                        Street                  City (andCountry if non U.S.                Z}P
                        Addre88                 address)                              State Ccxle          Phone

                         2001 L                 WashirUt)rl                            DC      20036        +1 (202) 416-
                         Street, NW                                                                         6791
                         SuIte 4tH)




                        Not Appllabb
  3. Application
  FiIIng Fee



  4. Nature of          (8) Prwkle the following intombatton about the Re8pondent:
  Respondent             Relationship to statiOn#jmmit$                                     Entity requtruf to file a Form 3
                                                                                            attritmtable interest in one or r
  5. Ucensee(s)

EH-BCM
  and Station(s)
                    Document 127                                                   Filed 03/
                   Respondent is filing this report to cover the following Lbensee{s)and station(s);

                    Licen8€e/PermttteeNarn                                                   mN

                    CBS Broadms6ng M                                                         m0348211



                    Fac. ID No.                  Call Sign           City

                    9610                         WCBSTV              NEW YORK

                    9617                         WBBM-TV             CHICAGO


                    9628                         KCBS-TV             LOSANGELES

                    9629                         WCCO-TV             MINNEAPOLIS

                    9640                         KCCW-TV             WALKER

                    25452                        KPH.TV              SAN FRANCISCO

                    25453                        KYW-TV              PHILADELPHIA


                    25454                        KDKA-TV             PiTrSBURGH

                    72123                        WWJ-TV               DFrROiT



                    Lie8rtseenermtttee Name                                                    FRN

                    CBS Television Stations Inc                                                 ooa442£



                    Fac. ID No.                      Call Sign              Ctty                   State

                    47902                                WFOR.TV            MIAMI                   FL

                    47903                                KCNC-TV            DENVER                  CO


                    LioenseePermitt8e Name                                                              FR

                     Manu    Television   Statk>n WBFS    Inc.                                          00


                    Fac. ID No.                          Celt Sign              City              State

                     12497                                WBF STV               MIAMI             FL



                    Lioensee/PerrnittoeName                                                       FRN

                     CBS Television Licenses LLC                                                  002107
         Ltcen80aPPermttteeName                                                 FR

EH-BCM    Document 127
         SaaamonbTeleviSon SUbor6 Irc
                                                                     Filed 03/  00


         Fab ID hb.                Call Sign            CIty                     S


         51499                     KMAX-TV                  SACRAMENTO            (




         56550                     KOVR                     STOCKTON              C




         Ucon8ee/PormtttoeName

         San Fwcrsoo Tebvisbn Statbn KBCW Irc.


         Fac. ID No.               Call Sign         City                         E




         69619                     KPYX              SAN FRANCISCO



                                                                                FF

          AtlantaTebvisionStatx>n WUPA Inc                                       a

         Fac. ID No.                     Call SIgn            CIty         St8te

          6900                           WUPA                  ATLANTA      GA


         Lieen8eafPomutteeName                                            FRN

          Te+edsion StatIon KTXA Inc.                                     0(X)205;



         Fac. ID No.                Call Sign          CIty                     Sti

          51517                         KrXA            FORT WORTH              T)


         Lioen80ePermittee Name

          Phtstwrgh Television Station WPCW Inc



         Fac. ID Uh                 Call Sign                 Ctty              SU


          ®8m                                                 JEANN£rrE         P/


         Llnrr8e#P8rTnttt8e Name                                             FRN


          CBS Operahon s Investments Inc.                                    0021
                    Fac. ID No.                    Call Sign                                                          SI

EH-BCM               Document 127                                                          Filed 03/
                                                                             City

                     70416                         WBXI£D                     INDIANAPOLIS                            It



                    Lleerr8eefPermttteeName                                                                FRN

                     CBS UTV LLC                                                                            (X)213551 :



                    Fac. ID No.                    Call Sign                      City                              Ste


                     73206                          WLNY-TV                         RIVERHEAD                       N\



                    L}cen8ee/P8rmtttee Name

                     Philadelphia Televisim     Statk>n WPSG Irn'



                    Fac. ID No.                    Call Sign               CIty                                     St

                     12499                          WPSG                    PHILADELPHIA                              P.


                    LIcensee/Permitt8e Name                                                                      FRN

                     The CW TelevIsion Stations Irc.                                                             C)(X)3P




                    Fac. ID No.                        Call Sign                    CIty                        State

                     23428                             KSTW                          TACOMA                      WA


                    Licen8eofPermtttee Name                                                                         FRI

                     CBS Stations Group of Texas LLC_                                                               CD:



                     Fee.ID No.                     Call Sign                CIty                                   St:


                     23422                           KT\fr                   FORT WORTH                               T)




                                     Section II - Biennial Ownership Information



  1. 47 C.F.R.      LX>ensee Fie$porxJuTts that MI autlx>rizatxxs for one or more full power teevision. AM. arxIAor
                    otxTtra£rtsand other instrurTHTts set forth in 47 C F,R. SectIon 73.3613(a) ttrrrxJgh (c) kx me faa
  Section 73.3613   refx>a in addltk)n. attnbutalie Local RMrk8ting Ayr@ments (LAAAs)and attritutable aint Sabs
  and Other         dixJosed   by the licensw   of the brokering station on ItS ownershIP report if the agreement is an
  Documents         anHbutable JSA. or a network affiliation agreement. check the apFxopnate tx)x. Otherwise, sele(
                     Respondents,as well as LicenseeRespondentsthat only hold authorizaHons for Class A televis
          ErWties that are part of an cx9anizahorral structure that includes hokllng oompanies or othertorn
         separate ownership reIx>rts. In such a strwture do not report or file a separate report for. any in

EH-BCM     Document 127                                                        Filed 03/
         an attributableinterest in the Licensoe(s)tor whichthe report is tung submitted

         Please see he InstrucOor}$ for further detail conceming interests that must be reported in re$fxx


         The Respondent must provide an FCC RegistratIon Number tor each interest holder reported in
          Please see the Instructionsfor detaIled information and guidance concerningthis raluiremerR.


          Ownuship Inkx7nation

           FRN                              0029958717

           EntIty Name                      Sumner M. RedstoneNational AmusementsPart B General Tr


           Address                          PO Box

                                            Street   1
                                                                              846 University Avenue

                                            Street 2

                                            CIty                              Norwood


                                            State (-NA- if non+J.S.           MA

                                            addrws)

                                            Zip,fP08tal Code                  02062-2631


                                            Country (if nonU.S.               Uritod States
                                            acHess)

           LIstIng Type                     Respondent


           Ptnttk)naI Irrternts
           (check all that apply)


           TrIbal Nation or TrIbal          Interest holder is not a Tribal nation or Tribal entIty
           EntIty


            Interest Percentages            Voting                            0.0%
            (enter percentagevalues
           from 0.0 tO 100.0)
                                            Equity                            0.0%

                                            Total assets (Equity tkbt         0.0%
                                            Plus)

           tns interest holder have an attributable inter%t in one or more b Dada st stations
           tInt do not appear on this report?


           Ownership Infonrntion

           FRN                              OfjIg287812
                                      Country (if non-U.S.          United States


EH-BCM   Document 127
         Listing Type
                                      address)

                                      Other Interest Holder
                                                                      Filed 03/
         Positional Interests         Other - Trustee
         (check all that apply)

         Citizenship, Gender,         Citizenship                   US

         EthnIcity, and Race
                                      Gender                        Female
         Information (Natural
         Persons Only)
                                      Ethnicity                     Not Hispanic or Latino

                                      Race

         Interest Peraentage$         Voting                         14.3%

         (enter percentage values
         from 0.0 to 100.0)
                                      Equity                         14.3%


                                      Total assets (Equity Debt      O.m
                                      Plus)

         Does Intere8t holder have an attributable interest in one or more broadcast stations
         th8t do not appearon this report?


         Ownership Information

         FRN                          0023078280

         Name                         Tyler J. Korff

         Address                       PO Box


                                      Strut    1                     846 University Avenue

                                       Strmt 2

                                       City                          Norwood


                                       State ("NA" if non+J.S.       MA
                                       address)


                                      Zip/Postal Code                02062.2631


                                       Country (if non+J.S,          United States

                                       address)

          Listing Type                 Other Interest Holder

          Positional Interests         Other - Trustee
         Does Intere8t hokter have an attribuHble int8re8t in one or morebroadcast stations

EH-BCM   Document 127
         that do nOt appear on this repwt?
                                                                      Filed 03/
         Ownership Infonnation

         FRN                          O019283480


         Name                          Davkl R. Arxlelman

         Address                       PO Box


                                       Street 1                     846 UnIversity Avenue

                                       Street 2

                                       City                         NoIwood

                                       State (-NA- it norbU.S.      MA
                                       address)

                                       ZiFVPOshI Code               02062-2631


                                       Country (if non-U.S.         UnIted States

                                       address)

         LIsting Type                  Other Interest HOlder

         P08ltlonal Interests          Other - Trustee
         (CtnCk all that apply)


         Cttbenship, Gender,           Ctthen8hip                   US

         Ethnictty, amI Race
         Infonnabon (Natural           Gender                       Mme
         Pw8cins Only)
                                       Ethnicity                    Not Hispanic or LatIno

                                       Race                         White

         Interest Percentages          Voting                       14.3%
         (enter percentagevalues
         from0.0 to 100.0}
                                       Equity                        14.3%


                                       Total 388ets (EquIty Debt    0.0%
                                       Plus)

         [h+6 intermt holder have an attributable interest in one or more broadcast stations
         that do not appearon this ne4mt?


         C)wn8r8hip Information
                                      Country (if non'U.S.          United Stato$


EH-BCM    Document 127
         Listing Type
                                      address)

                                      Other Interest Holder
                                                                     Filed 03/
         Positional Interests         Other - Trustee
         (check all that appty)

         Citizenship, Gender,         Citizenship                   US

         Ethnicity, and Race
                                      Gender                        hIbIc
         Information (Natural
         Persons Onty)
                                      Ethnicity                     Not Hispanic or Latino

                                      Race                          White

         Interest Percentages         Voting                        14.3%
         (enter percentagevalues
         from 0.0 to 100.0}
                                      Equity                        14.3%

                                      Total assets (Equity Ehbt     0.0%
                                      Plus)

         Dms interest holder have an attributable interest in one or morebroadcast stations
         that do nOt appearon this report?


         Ownership Information

          FRN                         O019417971


          Name                        Thaddeus P. Jankowski

         Acklress                     PO Box


                                      Street 1                      846 UniversIty Avenue

                                      S&e,t 2

                                      City                          Norwood


                                       State ("NA" if non-U.S.      MA
                                      address)

                                      Zip/Postal Code               02062-2631


                                       Country Of non-U.S.          United States

                                      address)

          Listing Type                Other Interest Holder

          Positional Interests        Other - Trustee
         Does interest holder have an attributable interest in one or more broadcast stations

EH-BCM    Document 127
         that do not appearon this report?
                                                                       Filed 03/
         Ownership Information

         FRN                           0027240225

         NaIrn                         Jill S. Krutick

         Address                       PO Box

                                       Street I                       816 University Avenue

                                       Street 2

                                       CIty                           NoIwood

                                       State (-NA" if non+J.S.        MA
                                       address)

                                       Zip/Postal Code                02062-2631


                                       COuntry (if non-U.S.           UnIted States

                                       address)

          Listing Type                 Other Interest Holder

          Positional Interests         Other - Trustee
          (check all that apply)


          Citizenship, Gener,          Citizenship                    US

          Ethn}city, and Race
          Information (Natural         Gender                         Female

          Per80n8 Only)
                                       Ethnicity                      Not Hispanic or Latino

                                       Raoe                           White

          Interest Peroentage8         Voting                         14.3%

          (enter percentage values
          from 0.0 to 100.0}
                                       Equity                         14.3%


                                       Total assets (Equity Debt      0.CPA

                                       Plu8)

          Does interest holder have an attributable interest in one or more broadcast stations
          that do not appearon this report?


          Ownership Information
                                         Country (if nonU.S.               United States


EH-BCM   Document 127
         Listing Type
                                         address)

                                         Other Interest Holder
                                                                             Filed 03/
         Positional Interests            Other - Trustee
         (check all that apply)

                                         Citizenship                       US
         Citizenship, Gender,
         Ethnicity, and Race
         Information (Natural            Gender                            Male

         Persons Only)
                                          Ethnicity                        Not Hispanic or Latino

                                          Race                             White


         Intere8t Percentages             Voting                           14.3%
         (enter percentage values
         from 0'0 to 100.0)
                                          Equity                           14,3%

                                          Total assets (Equity Debt        0.0%
                                          Plus)

         Does interest holder have an attributable interest in one or more broadcast stations
         that do not appear on this report?


         (b) Respondent eedtfies that any interests, including equity, financial, or voting
         interests, nat reported in this filing are non-attritwtable.
         If "No." submit as an exhibit an explanation




         (c) Are any of the individuals listed as an attributable interest holder in the Respondent I
         or related to each other as parentchild or as siblings?


         If "les," provide the folk)wing informationfor each such the relationship


         Family Relationships

         FRN                                  0019287812                        Name                Shari

         FRN                                  0023078280                        Name                Tyter

         Relationship                         Parent/Child




         Id\ Iq Resnnndent snekina an attribution exemution for an\r officer or director with
         Authorized Party to Sign   WILLFUL FALSE STATEMENrrsON

EH-BCM   Document 127               THIS FOnM ARE PUNISHABLE BY
                                    FINEAND/OR iMPRiSONMENrr (U.S
                                    CODE, TrrLE 18, SECTION 1001), AND
                                                                       Filed 03/
                                    fOR REVOCATION OF ANY STATION
                                    LICENSE –OR CONSTRUCTION

                                    PERMIT (U,S. CODE. TITLE 47
                                    SECT}ON 312(a)(1 }). AND/OR
                                    FORFEITURE(U.S.CODE. TITLE 47
                                    SECTION 503)


         Certification              I certify that I have examinedthis report      OfficIal TItle: Tru!
                                    and that to tha best of my knowledge and       Exact Legal Title
                                    tnlief, all staterr}ents in this relxirt are   Sumner M. Red€
                                    true,correct and complete.                     Part B General 1
                                                                                   Name: David R.

                                                                                   Phone: 78146111


                                                                                   11/21/2023
